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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

KEVIN B. DUFF, as Receiver for    )
CENTRAL SLEEP DIAGNOSTICS, et al. )
                                  )
           Plaintiffs,            )
                                  )                 Case No. 10-cv-6162
     v.                           )
                                  )                 Judge Rebecca R. Pallmeyer
KEN DACHMAN, et al.,              )
                                  )
           Defendants.            )

      RECEIVER’S PROPOSED AMENDMENTS TO DISTRIBUTION SCHEDULES

        Kevin B. Duff, in his capacity as Court-appointed Receiver (“Receiver”) in this action, by

and through his undersigned attorneys and pursuant to the powers vested in him by the Consent

Order for Preliminary and Permanent Injunction entered on October 18, 2010 (and modified on

November 1, 2010), the subsequent Order granting substitution of the Receiver entered on April

21, 2011, and the Order entered on June 21, 2011 expanding the Receiver’s authority to preserve

assets, submits the following proposed amendments to the Receiver’s distribution schedules

(attached hereto as Exhibits 1 & 2):


I.      PROPOSED AMENDMENTS

        A.     Claimants’ Proposed Distribution (Exhibit 1)

        1.     The Receiver sought leave to file amendments to the proposed distribution

schedules on October 11, 2013. (Dkt. No. 387.) Amending the claimants’ proposed distribution

schedule is necessary because one claimant (Claimant No. 58) was inadvertently omitted from

the initial schedules, and because the initial schedules inadvertently misstated the amount of the

Receiver’s settlement of the claim filed by the Internal Revenue Service, as the amount of that

settlement was $10,976.43 and not $10,000.00 as previously stated. (Ex. 1; see Dkt. No. 379.)
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       2.      As is reflected in the Receiver’s proposed distribution plan, $363,258.99 is

available for distribution to eligible CSD claimants and professionals.           Factoring-in the

aforementioned amendments to the claimants’ proposed distribution schedule, the amount that

the Receiver proposes to make available for distribution to eligible CSD claimants is

$243,392.26. (Ex. 1.)


       B.      Professionals’ Proposed Distribution (Exhibit 2)

       3.      Since filing the Receiver’s proposed distribution plan, the Receiver and his

retained counsel have incurred additional professional fees and expenses in the administration of

the Receivership as well as litigating multiple issues relating to the objection filed on October 7,

2013 by Goodman Tovrov Hardy & Johnson, LLC (f/k/a Goodman Law Offices LLC) and its

founder, Adam Goodman (collectively hereafter, “Goodman”). (Dkt. No. 386.) On October 11,

2013, the Court held a hearing on Goodman’s objection and overruled the objection.

Subsequently, the Court denied a later motion filed by Goodman to holdover funds pending an

appeal contemplated by Goodman, and in response to Goodman’s oral request that the Court set

an amount for a supersedeas bond, the Court determined that a fair and reasonable amount for

such bond would be $250,000.00. (Dkt. Nos. 387-88, 392.)

       4.      Kevin B. Duff, Receiver. For the months of September and October 2013, Mr.

Duff has incurred professional fees in the amount of $5,828.00. (See Exhibit 3.) The invoice

submitted herewith reflects approximately a 30% discount off Mr. Duff’s billing rates to account

for the fact that the work is performed for the benefit of a receivership. The Court previously

approved the billing rates that are reflected in Mr. Duff’s invoices. (Dkt. No. 157-1.) Mr. Duff

has reviewed his invoice and made certain changes and adjustments to coincide with the billing

guidelines. The Receiver believes that the invoice he has submitted herewith represents fair and

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reasonable fees and expenses for the services rendered. The Receiver has not yet been paid any

money for his work as Receiver.

       5.      Gardiner Koch Weisberg & Wrona, Receiver’s Counsel. For the months of

September and October 2013, Gardiner Koch has incurred professional fees in the amount of

$4,271.75 and no expenses.        (See Exhibit 4.)    The invoice submitted herewith reflects

approximately a 30% discount off Gardiner Koch’s billing rates to account for the fact that the

work is performed for the benefit of a receivership. The Receiver reviewed Gardiner Koch’s

invoice and requested that Gardiner Koch make certain changes and adjustments. In each

instance, Gardiner Koch made the changes and adjustments requested by the Receiver. The

Receiver believes that the Gardiner Koch invoice submitted herewith represents fair and

reasonable fees and expenses for the services rendered. Gardiner Koch has not yet been paid any

money for its work as Receiver’s counsel.

       6.      Rachlis Duff Adler & Peel, LLC, Receiver’s Counsel.           For the months of

September and October 2013, Rachlis Duff Adler & Peel, LLC (“Rachlis Duff”) has incurred

professional fees in the amount of $5,216.00 and expenses in the amount of $157.32. (See

Exhibit 5.) The invoice submitted herewith reflects approximately a 30% discount off Rachlis

Duff’s billing rates to account for the fact that the work is performed for the benefit of a

receivership. The Court previously approved the billing rates that are reflected in Rachlis Duff’s

invoices. (Dkt. No. 157-1.) The Receiver reviewed Rachlis Duff’s invoice and requested that

Rachlis Duff make certain changes and adjustments to coincide with the billing guidelines

followed by the Receiver. These changes include an additional reduction of more than 30% in

associate billing rates for 2012-2013 below the rate previously approved by the Court. In each

instance, Rachlis Duff made the changes and adjustments requested by the Receiver. The



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Receiver believes that the Rachlis Duff invoice submitted herewith represents fair and reasonable

fees and expenses for the services rendered.

         7.    Accordingly, as reflected in the attached Exhibit 2, the Receiver recommends that

the Receiver and the Receiver’s counsel’s additional out-of-pocket expenses totaling $157.32 be

paid in full, and that the professionals’ fees be paid at 50% of the invoiced amounts (which

already account for approximately 30% courtesy discounts on billing rates), which equates to

$7,657.87 in total additional professional fees incurred by the Receiver and the Receiver’s

retained counsel that the Receiver proposes be approved in conjunction with his distribution

plan. The Receiver believes that compensating the professionals (albeit fractionally) for their

services in administering the Receivership over the past 3 years is fair and reasonable under the

circumstances. See SEC v. Elliott, 953 F.2d 1560, 1577 (11th Cir. 1992) (receiver entitled to fair

compensation where reasonable and diligent in his duties); Donovan v. Robbins, 588 F. Supp.

1268, 1273 (N.D. Ill. 1984); SEC v. One Equity Corp., No. 2:08-cv-667, 2012 WL 1898643, at

*2-3 (S.D. Ohio May 23, 2012).


II.      CONCLUSION

         WHEREFORE, for the foregoing reasons, the Receiver Kevin B. Duff respectfully

requests that the Court approve the amendments to the proposed distribution schedules as well as

the Receiver’s proposed distribution plan in its totality.




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                                                Respectfully submitted,

                                                KEVIN B. DUFF, RECEIVER


                                                By:    /s/ John E. Murray

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